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2                                        UNITED STATES DISTRICT COURT

3                                            DISTRICT OF NEVADA

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      JOHN MANUEL RUIZ,
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                            Plaintiff,
6                                                           2:16-cv-00931-APG-VCF
      vs.                                                   ORDER
7     NEVADA DEPARTMENT OF
      CORRECTIONS, et al.,
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                            Defendants.
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            Before the Court is NDOC’s Motion To Extend Dispositive Motions Deadline Only To December
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     30, 2020 (ECF No. 49).
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            NDOC states several reasons why the dispositive motions deadline of October 1, 2020 should be
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     extended. NDOC states that Deputy Attorney General Alexander J. Smith recently started with the
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     Nevada Attorney General’s Office and has been assigned this case. He is also assigned 40 other cases and
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     will need additional time to work on this matter. NDOC also states technological difficulties caused by
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     working from home due to the COVID-19 pandemic.
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            No opposition has been filed and the time to file an opposition has passed. Under LR 7-2(d), the
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     failure of an opposing party to file points and authorities in response to any motion, except a motion under
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     Fed. R. Civ. P. 56 or a motion for attorney’s fees, constitutes a consent to the granting of the motion.
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     Here, it would seem as though Plaintiff has consented to the granting of the instant motion.
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            Accordingly, and for good cause shown,
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            IT IS HEREBY ORDERED that the Motion To Extend Dispositive Motions Deadline Only To
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     December 30, 2020 (ECF No. 49) is GRANTED.
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1           IT IS FURTHER ORDERED that the deadline to file dispositive motions is extended to December

2    30, 2020. If dispositive motions are filed, the deadline for filing the joint pretrial order will be suspended

3    until 30 days after decision on the dispositive motions or further court order

4           DATED this 19th day of October, 2020.
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5                                                                  CAM FERENBACH
                                                                   UNITED STATES MAGISTRATE JUDGE
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